Case 22-18303-JKS   Doc 159-4 Filed 10/05/23 Entered 10/05/23 12:56:09   Desc
                     Exhibit C to Certification Page 1 of 5



                             EXHIBIT C
     Case 22-18303-JKS         Doc 159-4Politan     Law, LLC
                                            Filed 10/05/23     Entered 10/05/23 12:56:09         Desc
                                Exhibit C to Certification Page 2 of 5
                                         88 East Main Street, #502
                                            Mendham, NJ 07945
                                            Phone: 973.768.6072



INVOICE

Date:10/05/2023
Invoice #: 10458
Matter: Sub V Trustee
File #: 55645-1

Bill To:
Antunes & Dacosta

Due Date: Due Upon Receipt



                     Payments received after 10/05/2023 are not reflected in this statement.



 Professional Services

 Date                    Details                                                    Hours      Rate     Amount

 05/01/2023         MP   B320-Plan and Disclosure Statement (including               0.20   $400.00       $80.00
                         Business Plan)
                         Telephone call with counsel to Vero Finance re:
                         treatment of non-dischargeability claims

 05/01/2023         MP   B320-Plan and Disclosure Statement (including               0.30   $400.00      $120.00
                         Business Plan)
                         Telephone call with J. Lemkin re: relief from stay order
                         and plan treatments, support for same

 05/02/2023         MP   B320-Plan and Disclosure Statement (including               0.20   $400.00       $80.00
                         Business Plan)
                         Telephone call with D. Thompson re: creditor objection
                         to plan addressing non-dischargeability claims

 05/05/2023         MP   B320-Plan and Disclosure Statement (including               0.10   $400.00       $40.00
                         Business Plan)
                         Call to Debtor's counsel re: plan provisions

 05/08/2023         MP   B320-Plan and Disclosure Statement (including               0.10   $400.00       $40.00
                         Business Plan)
                         Telephone call to J. O'Boyle re: discharge claimants
                         and support for plan

 05/08/2023         MP   B160-Fee/Employment Applications                            0.20   $400.00       $80.00
                         Review amended retention application for accountant
                         for debtors

 05/13/2023         MP   B320-Plan and Disclosure Statement (including               0.20   $400.00       $80.00
                         Business Plan)
                         Review UST objection to joint plan


                                                www.politanlaw.com                                           Page 2 of 6
                                                                                               Invoice # 10458
   Case 22-18303-JKS    Doc 159-4Politan     Law, LLC
                                     Filed 10/05/23     Entered 10/05/23 12:56:09     Desc
                         Exhibit C to Certification Page 3 of 5
                                  88 East Main Street, #502
                                     Mendham, NJ 07945
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05/15/2023   MP   B320-Plan and Disclosure Statement (including           0.10   $400.00       $40.00
                  Business Plan)
                  Address adjournment request from J. O'Boyle re:
                  confirmation hearing

05/15/2023   MP   B320-Plan and Disclosure Statement (including           0.20   $400.00       $80.00
                  Business Plan)
                  Review objection to plan from AFC and declination of
                  opt-in mechanism

05/17/2023   MP   B320-Plan and Disclosure Statement (including           0.20   $400.00       $80.00
                  Business Plan)
                  Review plan objections from State of New Jersey and
                  floor plan lenders

05/18/2023   MP   B320-Plan and Disclosure Statement (including           0.20   $400.00       $80.00
                  Business Plan)
                  Review summary email from UST re: confirmation and
                  impacts of consensual and nonconsensual plans
                  under 1191

05/18/2023   MP   B320-Plan and Disclosure Statement (including           0.30   $400.00      $120.00
                  Business Plan)
                  Confer with P. D'Auria re: plan objections, non-
                  dischargeability claimants and issues re: substantive
                  consolidation

05/24/2023   MP   B320-Plan and Disclosure Statement (including           0.40   $400.00      $160.00
                  Business Plan)
                  Discussion with J. O' Boyle re: plan revisions and
                  strategy to move forward on confirmation

05/30/2023   MP   B320-Plan and Disclosure Statement (including           0.10   $400.00       $40.00
                  Business Plan)
                  Call with J. O'Boyle re: plan ballots and revisions

05/31/2023   MP   B160-Fee/Employment Applications                        0.20   $400.00       $80.00
                  Review fee application and supporting documents for
                  debtor's counsel

06/06/2023   MP   B320-Plan and Disclosure Statement (including           0.10   $400.00       $40.00
                  Business Plan)
                  Review plan objection

06/08/2023   MP   B110-Case Administration                                0.20   $400.00       $80.00
                  Review MOR for March and April 2023

06/30/2023   MP   B320-Plan and Disclosure Statement (including           0.10   $400.00       $40.00
                  Business Plan)
                  Draft inquiry re: status of creditor negotiations

08/03/2023   MP   B320-Plan and Disclosure Statement (including           0.20   $400.00       $80.00
                  Business Plan)
                  Discuss plan issues and car inventory with P. D'Auria

08/04/2023   MP   B110-Case Administration                                0.20   $400.00       $80.00
                  Address and respond to multiple adjournment

                                         www.politanlaw.com                                       Page 3 of 6
                                                                                    Invoice # 10458
   Case 22-18303-JKS    Doc 159-4Politan     Law, LLC
                                     Filed 10/05/23     Entered 10/05/23 12:56:09         Desc
                         Exhibit C to Certification Page 4 of 5
                                  88 East Main Street, #502
                                     Mendham, NJ 07945
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                  requests

08/08/2023   MP   B110-Case Administration                                    0.10   $400.00       $40.00
                  Review email inquiries re: outstanding insurance
                  documents

08/10/2023   MP   B110-Case Administration                                    0.20   $400.00       $80.00
                  Review MOR for May and June 2023

08/12/2023   MP   B140-Relief from Stay/Adequate Protection                   0.20   $400.00       $80.00
                  Proceedings
                  Review consent order lifting stay re: AFC vehicles in
                  possession

08/17/2023   MP   B320-Plan and Disclosure Statement (including               0.10   $400.00       $40.00
                  Business Plan)
                  Draft email for update on plan considerations to
                  debtor's counsel

08/17/2023   MP   B110-Case Administration                                    0.10   $400.00       $40.00
                  Review monthly operating report for July 2023

08/21/2023   MP   B140-Relief from Stay/Adequate Protection                   0.20   $400.00       $80.00
                  Proceedings
                  Review and address multiple emails re: consent order
                  for lift stay as to vehicles

08/28/2023   MP   B110-Case Administration                                    0.20   $400.00       $80.00
                  Review and analyze motion to convert or dismiss
                  corporate debtor case

08/29/2023   MP   B140-Relief from Stay/Adequate Protection                   0.10   $400.00       $40.00
                  Proceedings
                  Review further revised consent order re: stay relief to
                  recover vehicles

09/05/2023   MP   B320-Plan and Disclosure Statement (including               0.40   $400.00      $160.00
                  Business Plan)
                  Draft email re: status update on confirmation and plan
                  revisions in light of the motion to dismiss the corporate
                  entity; review current plan documents

09/05/2023   MP   B320-Plan and Disclosure Statement (including               0.30   $400.00      $120.00
                  Business Plan)
                  Discussion with debtor's counsel re:revisions and
                  amendments to plan, dismissal/conversion of
                  corporate entity and effect on confirmation

09/08/2023   MP   B320-Plan and Disclosure Statement (including               0.40   $400.00      $160.00
                  Business Plan)
                  Address adjournment of confirmation hearing and
                  impact of tax obligations under the plan

09/08/2023   MP   B140-Relief from Stay/Adequate Protection                   0.30   $400.00      $120.00
                  Proceedings
                  Review and address stay relief for remaining inventory
                  and impact on individuals' liability under the plan and

                                         www.politanlaw.com                                           Page 4 of 6
                                                                                        Invoice # 10458
   Case 22-18303-JKS       Doc 159-4Politan     Law, LLC
                                        Filed 10/05/23     Entered 10/05/23 12:56:09            Desc
                            Exhibit C to Certification Page 5 of 5
                                     88 East Main Street, #502
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                     nondischargeability judgments

09/20/2023     MP    B110-Case Administration                                      0.20    $400.00       $80.00
                     Review opposition to motion to convert corporate case

09/20/2023     MP    B110-Case Administration                                      0.10    $400.00       $40.00
                     Review email response re: insurance for garage and
                     vehicles for corporate entity

09/20/2023     MP    B320-Plan and Disclosure Statement (including                 1.00    $400.00      $400.00
                     Business Plan)
                     Call with counsel and UST re: plan and motion to
                     convert or dismiss

09/22/2023     MP    B110-Case Administration                                      0.20    $400.00       $80.00
                     Review response of UST re: lack of insurance for
                     corporate debtor

09/26/2023     MP    B110-Case Administration                                      0.40    $400.00      $160.00
                     Address status conference issues and review
                     correspondence re: consent to lift stay, plan updates
                     and motion to convert and/or dismiss

09/26/2023     MP    B320-Plan and Disclosure Statement (including                 1.40    $400.00      $560.00
                     Business Plan)
                     Attend status conference on plan, confirmation and
                     dismissal of joint plan proponent



                                     For professional services rendered            9.70               $3,880.00




Additional Charges

Date                 Details                                                   Quantity      Rate      Amount

09/26/2023     MP    E112-Court fees                                                 1      $50.00       $50.00
                     Court Solutions appearance at status conference



                                                 Total additional charges                                $50.00




                                                                          Invoice Amount                $3,930.00



                                                                             Balance Due                $3,930.00



                                                     Retainer Balance (as of 10/05/2023)                     $0.00

                                           www.politanlaw.com                                               Page 5 of 6
                                                                                              Invoice # 10458
